
Appeal No. 1901 from Judgment dated Feb. 14, 1991; Joe N. Pigott, Ruling Judge, Walthall County Circuit Court.
B. Calvin Cosnahan, II, McComb, for appellant.
Michael C. Moore, Atty. Gen., Ellen Y. Dale, Sp. Asst. Atty. Gen., Jackson, for ap-pellee.
Before PRATHER, P.J., and BANKS and McRAE, JJ.
Affirmed.
HAWKINS, C.J., DAN M. LEE, P.J., and SULLIVAN, PITTMAN, JAMES L. ROBERTS, Jr., and SMITH, JJ., concur.
